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                 EXHIBIT B-079
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                                                                            FILED IN OFFICE

                  IN THE SUPERIOR COURTOF FULTONCOUNIT                           AU          2
                             STATEOF GEORGIA
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IN RE 2 MAY 2022      SPECIAL PURPOSE
GRANDJURY                                            2022-EX-000024




                 ORDER DENYING MOTION TO RECONSIDER
                      DISQUALIFICATION REQUEST

       On 25 July 2022, the undersigned entered an Order disqualifying the District

Attorney of Fulton County and her Office from investigating State Senator Burt Jones as

part of the special purpose grand jury's investigation into possible criminal interference

in the November 2020 general election in Georgia. The Court disqualified the District

Attorney and her Office from investigating Senator Jones for good reason: her obvious

and irreconcilable conflict of interest created by her decision to "pledge[] her name,

likeness, and office" in support of Senator Jones's opponent in the upcoming election for

Lieutenant Governor. Order of 25 July 2022 at 3.

       In that same Order, the Court denied the motion to disqualify the District Attorney

and her Office from investigating eleven other "alternate" electors who, like Senator

Jones, had offered themselves up as potential electoral college votes for former President

Trump even after he lost the Georgia popular tally by over 10,000     votes. These eleven,

despite their disparate backgrounds, divergent roles in post-election activities, and

fundamentally different postures in the District Attorney's investigation, remain a legal

bloc represented by the same attorneys. Those attorneys, in a 16 August 2022 filing, are

asking the Court to reconsider its ruling denying their motion to disqualify. Having




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reviewed the record as well as the eleven alternate electors' recent motion, the Court re-

affirms its position and DENIESthe motion to reconsider. 1

        The eleven alternate electors, despite their assertions to the contrary, are not

similarly situated with Senator Jones. None is locked in a high-profile statewide political

campaign against someone whom the District Attorney has personally and professionally

endorsed. 2 Indeed, these alternate electors have provided no evidence that the District

Attorney (or any member of her staff) has done anything that suggests a possible political

motivation for investigating them -- beyond the banal observation that they are active

Republicans and the District Attorney is not.3 Plainly that is not enough. Nor is it

sufficient to point out that these alternate electors have all donated to Senator Jones's

campaign for Lieutenant Governor (and the District Attorney has not). Their legal

campaign donations are no more disqualifying that the District Attorney's. See, e.g.,

Caperton v. A.T. Massey Coal Co.,Inc., 556 U.S. 868, 884 (2009) ("Not every campaign

contribution by a litigant or attorney creates a probability of bias that requires ...

recusal."); Gude v. State, 289 Ga. 46, 50 (2011) (same) (both cases involve judicial

recusals, where disqualification rules are more stringent).




• The Court also declines to provide a certificate of immediate review.
2 Alternate elector Shawn Still is running for a State Senate seat. His contest is local and relatively low
profile. More important, unlike Senator Jones, candidate Still offers no evidence that the District Attorney
has supported his opponent in any manner (other than the bald claim that the District Attorney's pursuit
of the election interference investigation is designed to harm him and aid his opponent). Thus, apart from
the different political affiliations of the District Attorney and candidate Still, there is nothing to suggest any
political link to the District Attorney's investigation into Still's activities as an alternate elector.

• Remarkably, counsel for the eleven alternate electors cites as proof of the District Attorney's bias "her
targeting of only Republicans." Mot. at 10. It eludes the undersigned how an investigation into allegations
of Republican interference in the 2020 general election in Georgia would have any other list of targets than
Republicans.

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        Contracy to the alternate electors' unavailing analogizing, this is not a basketball

game or a closed militacy tribunal. It is a public investigation into possible electoral

wrongdoing. The process is inherently "political" in the simple and unremarkable sense

that politicians and leaders of a specific political party are alleged to have undertaken

efforts to defeat the will of the Georgia electorate. A prosecutor who pursues such a case

is not automatically biased and partisan -- and subject to disqualification -- because of the

common political affiliations of the subjects (and targets) of the investigation. And most

certainly it is not a legal, ethical, or even sensical requirement that the prosecutor share

that political affiliation.

       Until the eleven alternate electors can do more than parrot back language from the

Court's Order addressing the profound conflict that the District Attorney faced with

investigating Senator Jones as if it applies to their readily distinguishable situations, they

should refrain from further petitions for disqualification.

       SO ORDERED this 24th day of August 2022.




                                                  J   g obert C.I. McBurney
                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit




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